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 9                             UNITED STATES DISTRICT COURT
10                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
12   TIMOTHY G. FAASSE, an Individual,             Case No:
     JEFFREY HANSEN, an Individual,
13   Individually and on Behalf of All Others
     Similarly Situated,                           CLASS ACTION COMPLAINT FOR:
14                          Plaintiffs,            (1) CALIFORNIA’S UNCLAIMED
15   v.                                                PROPERTY LAW, CAL. CIV.
     COINBASE, INC., a Delaware                        PROC. CODE §§ 1500, et seq.
16   Corporation,                                  (2) UNLAWFUL AND UNFAIR
17                          Defendant.                 BUSINESS PRACTICES, CAL.
18                                                     BUS. PROF. CODE §§ 17200;
                                                   (3) CONVERSION
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20                                                 JURY TRIAL DEMANDED
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 1              Plaintiffs Timothy G. Faasse (“Faasse”) and Jeffrey Hansen (“Hansen”)
 2   individually and on behalf of all others similarly situated, allege the following based
 3   upon personal knowledge as to themselves and their own acts, and on information and
 4   belief as to all other allegations, based on investigation of counsel. Plaintiffs believe
 5   that substantial evidentiary support will exist for the allegations set forth herein after a
 6   reasonable opportunity for discovery.
 7   I.         INTRODUCTION
 8              1.    Imagine writing a cashier’s check to a friend. The bank withdraws funds
 9   from your account, but your friend never cashes the check. Does the bank get to keep
10   the funds? The law clearly says no. But this is exactly what has happened with
11   Cryptocurrencies sent through Coinbase.com, owned and operated by Coinbase, Inc.
12   (“Coinbase” or “Defendant”).
13              2.    Coinbase users can send Bitcoin, Ethereum, Litecoin and Bitcoin Cash
14   (collectively “Cryptocurrencies”) to an email address. Plaintiffs and the Class were sent
15   an email from Coinbase stating they had Cryptocurrency, with a link to create a
16   Coinbase account to redeem it. But until 2017, most people never heard of a “bitcoin”
17   or cryptocurrency, so most of these emails were disregarded. And most of the
18   Cryptocurrency went unclaimed.
19              3.    But instead of notifying Plaintiffs and the Class they had unclaimed
20   Cryptocurrencies, or turning those Cryptocurrencies over to the State of California as
21   required by California’s Unclaimed Property Law (the “UPL”, CAL. CIV. PROC. CODE
22   § 1500 et seq.), Coinbase kept them.
23              4.    Accordingly, this class action seeks to recover these unclaimed
24   Cryptocurrencies and deliver them to the intended recipients, as well as all “forks”
25   thereof (e.g. Bitcoin Cash fork of Bitcoin), and “airdrops” related thereto (e.g., ERC20
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 1   airdrops of Ethereum related tokens). For members of the Class1 whose email addresses
 2   have gone stale, Plaintiffs seek injunctive relief ordering their unclaimed
 3   Cryptocurrencies turned over to the State of California in accordance with California’s
 4   UPL to prevent unjust enrichment of Defendant. Finally, Plaintiffs seek injunctive relief
 5   ordering Defendants to comply with the UPL in future.
 6              5.    Plaintiffs bring these class claims pursuant to the UPL, and as “unlawful”
 7   and “unfair” business practices in violation of California’s Unfair Competition Law (the
 8   “UCL,” CAL. BUS. & PROF. CODE §§ 17200 et seq.) and for conversion.
 9   II.        JURISDICTION AND VENUE
10              6.    This Court has jurisdiction over this action pursuant to the Class Action
11   Fairness Act, 28 U.S.C. § 1332(d).
12              7.    Venue is proper in this District pursuant to 28 U.S.C. §1391(a) because
13   Defendant resides within this District. Venue is also proper pursuant to 28 U.S.C.
14   §1391(b) because many of the acts and transactions giving rise to the violations of law
15   complained of herein occurred in this District.
16              8.    Intradistrict Assignment: Defendant is headquartered in San Francisco
17   County, and the acts and transactions complained of herein occurred in San Francisco
18   County.
19   III.       PARTIES
20              9.    Plaintiff Faasse is a citizen of the United States and resident of the State of
21   Michigan, and a resident of Kent County. On or about October 20, 2013, Faasse was
22   sent 0.10 Bitcoin through Coinbase.com to his email address. Faasse received no other
23   notifications from Defendant. In February 2018, Faasse was reminded of the transfer
24   by the sender of his unclaimed Bitcoin. Faasse then opened the email in an attempt to
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26         As described in Paragraph 19 herein, the Class pled herein is “All persons and
     entities who were sent Cryptocurrencies such as Bitcoin, Ethereum and Litecoin
27   through Coinbase.com to their email address, and who never claimed such
     Cryptocurrency.”)
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 1   claim his Bitcoin, but the email link had gone stale. Faasse intends to use Coinbase.com
 2   if his Bitcoin is restored.
 3              10.   Plaintiff   Hansen is a citizen of the United States and the State of
 4   California, and a resident of the County of San Diego. On or about September 14, 2013,
 5   Hansen was sent 0.01 Bitcoin through Coinbase.com to his email address. Hansen
 6   received no other notifications from Defendant. In February 2018, Hansen was
 7   reminded of the transfer by the sender of his unclaimed Bitcoin. Hansen then opened
 8   the email in an attempt to claim his Bitcoin, but the email link had gone stale. Hansen
 9   intends to use Coinbase.com if his Bitcoin is restored.
10              11.   Defendant Coinbase, Inc. is a Delaware corporation with its principal place
11   of business in San Francisco, California. Coinbase describes itself as “the world’s most
12   popular way to buy and sell bitcoin, ethereum, and litecoin.” According to published
13   reports, Defendant has over 13 million users across the globe, surpassing the user base
14   of some of the largest stock brokers such as Charles Schwab.
15   IV.        SUBSTANTIVE ALLEGATIONS
16              12.   Coinbase provides its users an easy way to send Cryptocurrencies without
17   needing technical knowledge of how they work. One feature Coinbase provides is to
18   send Cryptocurrencies from a Coinbase account to an email address.
19              13.   Coinbase users are shown a screen at the Coinbase.com website that allows
20   them to determine how much Cryptocurrency they want to send and to whom. The users
21   enter a destination email address (the email addresses of Plaintiff and the Class) and
22   click send.
23              14.   For Coinbase users sending Cryptocurrency to another Coinbase user’s
24   email address, the Cryptocurrency is automatically deposited in their account. As such,
25   these persons are not members of the Class. But when users send Cryptocurrency via
26   email to someone without a Coinbase account, the recipient gets an email instead.
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 1              15.   The emails received by Plaintiff and the Class stated, in substantial part,
 2   that “[email address of sender] just sent you [amount of Cryptocurrency] (worth [fiat
 3   amount] using Coinbase. … Click [Coinbase.com web link] to sign in and claim this
 4   amount.” But unless Plaintiff and the Class opened a Coinbase account, they were
 5   provided no other way to redeem the Cryptocurrencies.
 6              16.   Plaintiff and each member of the Class never redeemed their
 7   Cryptocurrencies.
 8              17.   In addition, Plaintiff and the Class were not provided any follow up emails
 9   reminding them to redeem their Cryptocurrencies or any other notice that Coinbase was
10   holding Cryptocurrencies on their behalf.
11              18.   Defendant kept, and continues to keep, unredeemed Cryptocurrencies sent
12   via email through Coinbase.com.
13   V.         CLASS ALLEGATIONS
14              19.   Plaintiffs bring this action as a class action pursuant to Federal Rule of
15   Civil Procedure 23(a) and(b)(3) for the following Class of persons:
16              “All persons and entities who were sent Cryptocurrencies such as Bitcoin,
                Ethereum and Litecoin through Coinbase.com to their email address, and
17              who never claimed such Cryptocurrency.”
18
     Excluded from the Class are Defendant herein and any person, firm, trust, corporation,
19
     or other entity related to or affiliated with any defendant, as well as any judge, justice
20
     or judicial officer presiding over this matter and members of their immediate families
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     and judicial staff. Also excluded from the Class are any members whose unclaimed
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     Cryptocurrency is the subject of an individual action against Defendant.
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                20.   Plaintiffs reserve the right to amend the Class definition if further
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     investigation and/or discovery indicate that the Class definition should be narrowed,
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     expanded, or otherwise modified.
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 1              21.   While the exact number of Class members is unknown to Plaintiffs at this
 2   time, and will be ascertained through appropriate discovery, Plaintiffs are informed and
 3   believe that there are thousands of members in the proposed Class. The number of
 4   individuals and entities who comprise the Class are so numerous that joinder of all such
 5   persons is impracticable and the disposition of their claims in a class action, rather than
 6   in individual actions, will benefit both the parties and the courts. Class members may
 7   be identified from records maintained by Defendants, and may be notified of the
 8   pendency of this action by electronic mail using the form of notice similar to that
 9   customarily used in class litigation.
10              22.   Plaintiffs’ claims are typical of the claims of the other members of the
11   Class. All members of the Class have been and/or continue to be similarly affected by
12   Defendants’ wrongful conduct as complained of herein, in violation of law. Plaintiffs
13   are unaware of any interests that conflict with or are antagonistic to the interests of the
14   Class.
15              23.   Plaintiffs will fairly and adequately protect the Class members’ interests
16   and have retained counsel competent and experienced in class actions and complex
17   litigation. Plaintiffs and their counsel will adequately and vigorously litigate this class
18   action, and Plaintiffs are aware of their duties and responsibilities to the Class.
19              24.   Defendant has acted and continues to act with respect to the Class in a
20   manner generally applicable to each Class member. Common questions of law and fact
21   exist as to all Class members and predominate over any questions wholly affecting
22   individual Class members. There is a well-defined community of interest in the
23   questions of law and fact involved in the action, which affect all Class members. Among
24   the questions of law and fact common to the Class are, inter alia:
25              a)    Whether California law applies to Class claims;
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 1              b)    Whether Coinbase is required to provide notice to Plaintiffs and the Class
 2                    that it is holding assets on their behalf, and whether Coinbase provided
 3                    such notice;
 4              c)    Whether Coinbase is required to notify the State of California that it is
 5                    holding assets on behalf of Plaintiffs and the Class, and whether Coinbase
 6                    provided such notice to Plaintiff and the Class;
 7              d)    Whether Coinbase is required to surrender Plaintiffs and the Class’
 8                    Cryptocurrencies to the State of California, and whether Coinbase
 9                    complied with that requirement;
10              e)    Whether Coinbase’s actions and omissions constitute “unlawful” or
11                    “unfair” business practices in violation of the UCL;
12              f)    Whether    Coinbase     has   converted    Plaintiffs   and   the   Class’
13                    Cryptocurrencies; and
14              g)    Whether Plaintiffs and the Class have been damaged.
15              25.   A class action is superior to all other available methods for the fair and
16   efficient adjudication of this controversy since joinder of all Class members is
17   impracticable. Furthermore, as the injury and/or damages suffered by individual Class
18   members may be relatively small, the expense and burden of individual litigation makes
19   it impossible as a practical matter for Class members to individually redress the wrongs
20   done to them. There will be no difficulty in managing this action as a class action.
21              26.   Defendant has acted on grounds generally applicable to the entire Class
22   with respect to the matters complained of herein, thereby making appropriate the relief
23   sought herein with respect to the Class as a whole.
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 1                                          FIRST COUNT
 2              VIOLATION OF CALIFORNIA’S UNCLAIMED PROPERTY LAW
 3
                27.   Plaintiffs hereby incorporate by reference the allegations contained in the
 4
     preceding paragraphs of this Complaint, as though fully alleged herein.
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                28.   California law governs the dispute between defendant Coinbase and
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     Plaintiffs and the Class.
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                29.   This Count is brought pursuant to California’s Unclaimed Property Law,
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     CAL. CIV. PROC. CODE § 1500, et seq. on behalf of Plaintiffs and all Class members
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     whose Cryptocurrency has been unclaimed for 2 years from the date of filing of this
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     Action.
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                30.   The legislative intent of the UPL is “that property owners be reunited with
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     their property.”
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                31.   Defendant Coinbase is a “banking organization”, “business association”,
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     and/or “financial organization” subject to the requirements of the UPL. CAL. CIV. PROC.
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     CODE § 1501.
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                32.   Plaintiffs and each member of the Class are “owners” of Cryptocurrencies
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     sent to them via email through Coinbase.com. Id.
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                33.   Defendant is a “holder” of Plaintiffs and the Class’ Cryptocurrencies. Id.
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                34.   The Cryptocurrencies sent to Plaintiffs and the Class via email through
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     Coinbase.com are “property” subject to the UPL.
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                35.   Defendant was and is required to give notice to Plaintiffs and the Class not
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     less than two years nor more than two and one-half years after Plaintiffs and the Class
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     were first notified by email that they had been sent Cryptocurrencies through
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     Coinbase.com, that their Cryptocurrencies, as well as any interest and dividends thereon
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     were subject to the UPL, and would be transferred to the State of California if
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 1   unclaimed. Defendant failed to notify Plaintiffs and the Class in the manner required
 2   by the UPL, or at all.
 3              36.   Defendant was and is required to make annual reports to the California
 4   State Controller that include the contact information (i.e., email addresses) of Plaintiffs
 5   and the Class and the Cryptocurrencies being held by Coinbase on their behalf. This
 6   allows the State of California to attempt to contact Plaintiffs and the Class to reunite
 7   them with their unclaimed Cryptocurrencies. Defendant failed to make such annual
 8   reports to the Controller as required by the UPL, or at all.
 9              37.   Under the UPL, the State of California takes possession of unclaimed
10   property to prevent businesses holding it from selling it and using the proceeds for its
11   their own purposes. Coinbase frustrated the purpose of the UPL by failing to make
12   required notices to Plaintiffs and the Class, the California State Controller, and/or by
13   retaining the Cryptocurrencies sent to Plaintiffs and the Class for Defendant’s own use
14   and benefit.
15              38.   Accordingly, Plaintiffs, individually, and on behalf of all Class members,
16   seek equitable, injunctive and declaratory relief requiring Defendant Coinbase to
17   comply with the UPL by notifying Class members via email that their Cryptocurrencies
18   are available for redemption, as well as all “forks” thereof (e.g. Bitcoin Cash fork of
19   Bitcoin), and “airdrops” related thereto (e.g., ERC20 airdrops of Ethereum related
20   tokens) which are being held by Coinbase, and the State of California as appropriate,
21   and ordering delivery of unclaimed Cryptocurrencies to Plaintiffs and the Class, as well
22   as all “forks” thereof (e.g. Bitcoin Cash fork of Bitcoin), and “airdrops” related thereto
23   (e.g., ERC20 airdrops of Ethereum related tokens) which are being held by Coinbase,
24   or the State of California as appropriate, in an amount to be proved at trial.
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 1                                           SECOND COUNT
 2   “UNLAWFUL” AND “UNFAIR” BUSINESS PRACTICES IN VIOLATION OF
                      BUS. & PROF. CODE §§ 17200
 3
                39.     Plaintiffs hereby incorporate by reference the allegations contained in the
 4
     preceding paragraphs of this Complaint, as though fully alleged herein.
 5
                40.     California law governs the dispute between defendant Coinbase and
 6
     Plaintiffs and the Class.
 7
                41.     California Business and Professions Code § 17200 et seq. prohibits acts of
 8
     unfair competition, which includes “unlawful” and “unfair” business acts or practices.
 9
                42.     Defendant’s failure to comply with California’s Unclaimed Property Law
10
     constitutes “unlawful” business practices in violation of the UCL.
11
                43.     Defendant’s conversion of Plaintiffs and the Class’ Cryptocurrencies as
12
     alleged herein constitutes “unlawful” business practices in violation of the UCL.
13
                44.     Defendant’s failure to notify Plaintiffs and the Class, and the State of
14
     California as appropriate, that Coinbase is holding Cryptocurrencies that belong to
15
     Plaintiffs and the Class, and failure to deliver such Cryptocurrencies to Plaintiffs and
16
     the Class, and the State of California as appropriate, constitute “unfair” business
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     practices because:
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                (i)     the injury to Plaintiffs and the Class outweighs any countervailing benefits
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     to consumers or to competition, and because such injury could not be reasonably
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     avoided by Plaintiffs and the Class; and/or
21
                (ii)    it violates established public policy as embodied in California’s Unclaimed
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     Property Law, and the California public policies against forfeitures;
23
                (iii)   it is immoral, unethical, oppressive, unscrupulous or substantially
24
     injurious to consumers;
25
                (iv)    the gravity of the harm to Plaintiffs and the Class outweighs any
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     countervailing benefits to Defendant or to competition.
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 1              45.   As a direct and proximate result of Defendant’s “unlawful” and “unfair”
 2   business practices as alleged herein, Plaintiffs and each Class member have been
 3   wrongfully deprived of money and/or property. Plaintiffs suffered injury-in-fact as a
 4   result of Defendant’s unlawful and unfair business practices.
 5              46.   Accordingly, Defendant received and is in possession of excessive and
 6   unjust revenues and profits, and/or has caused Plaintiffs and the Class to lose money or
 7   property directly as a result of Coinbase’s wrongful acts and practices.
 8              47.   As a result of the above unlawful acts and practices, Plaintiffs seek
 9   injunctive relief prohibiting Coinbase from continuing these wrongful acts and
10   omissions, and such other equitable relief, including notifying the Class, and the State
11   of California as appropriate, that Coinbase is holding Cryptocurrencies that belong to
12   them, and delivering such Cryptocurrencies as well as all “forks” thereof (e.g. Bitcoin
13   Cash fork of Bitcoin), and “airdrops” related thereto (e.g., ERC20 airdrops of Ethereum
14   related tokens), to Plaintiffs and the Class, and the State of California as appropriate,
15   and such equitable relief, including disgorgement of all improperly retained
16   Cryptocurrencies to the fullest extent permitted by law.
17
                                           THIRD COUNT
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                                            CONVERSION
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                48.   Plaintiffs hereby incorporate by reference the allegations contained in the
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     preceding paragraphs of this Complaint, as though fully alleged herein.
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                49.   Plaintiffs and each member of the Class have a property right in their
22
     Cryptocurrencies, and a right to delivery and possession of same.
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                50.   By failing to notify Plaintiffs and the Class, and by failing to deliver
24
     Cryptocurrencies to Plaintiff and the Class as described herein, Coinbase has
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     wrongfully dispossessed Plaintiffs and the Class of their Cryptocurrencies.
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 1              51.   Coinbase intentionally and substantially interfered with Plaintiffs and
 2   Class members’ right and ability to receive their Cryptocurrencies in violation of law.
 3   Defendant has and continues to exercise dominion and control over such
 4   Cryptocurrencies.
 5              52.   Plaintiffs and the Class’ interests in Cryptocurrencies are reflected in the
 6   books and records of Coinbase, which are accounts showing amounts owed to Plaintiffs
 7   and the Class. Defendant’s books and records reflect transfer of Cryptocurrencies to
 8   Plaintiffs and the Class, the date of the transaction, the amount of the transaction, and
 9   other items necessary to determine the liquidated amount of Cryptocurrencies owed to
10   Plaintiffs and the Class.
11              53.   Plaintiffs and the Class were unaware of Defendant’s conversion of their
12   Cryptocurrencies as described herein, and did not consent to it.
13              54.   As a direct and proximate result of Defendants’ wrongful actions,
14   Plaintiffs and the Class have been deprived of their Cryptocurrencies, as well as all
15   “forks” thereof (e.g. Bitcoin Cash fork of Bitcoin), and “airdrops” related thereto (e.g.,
16   ERC20 airdrops of Ethereum related tokens), in an amount to be proven at trial.
17   VI.        PRAYER FOR RELIEF
18              WHEREFORE, Plaintiffs and the Class pray for relief and judgment as follows:
19              A.    For an order declaring that this action is properly maintained as a class
20   action pursuant to Federal Rule of Civil Procedure 23, and certifying Plaintiffs as the
21   Class representatives;
22              B.    For an order notifying Class members that Coinbase has possession of their
23   Cryptocurrency;
24              C.    For an order awarding Plaintiffs and the Class their Bitcoin, Ethereum,
25   Litecoin and Bitcoin Cash, including all “forks” thereof, and “airdrops” related thereto,
26   and/or Coinbase’s disgorgement of same, and/or awarding compensatory damages in
27   favor of Plaintiff and the Class against Defendant, for all legally cognizable damages
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 1   sustained as a result of Defendant’s wrongdoing, in an amount to be proven at trial,
 2   including interest thereon;
 3              D.    Awarding Plaintiffs and the Class their reasonable costs and expenses
 4   incurred in this action, including attorneys fees, expert fees, witness fees and electronic
 5   discovery fees as permitted by law;
 6              E.    Granting such other and further relief as this Court may deem just and
 7   proper.
 8   VII. JURY TRIAL DEMAND
 9              Plaintiffs demand a trial by jury for all claims asserted in this Complaint so
10   triable.
11
     Dated March 2, 2018                              Respectfully submitted,
12
13                                                    THE RESTIS LAW FIRM, P.C.
14
15                                                    ________________________
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